Case.net: 17SL-CC00153 - Docket Entries                                      Page 1 of 1
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                 17SL-CC00153 - PATRICIA KOWALSKI V ALLIANCE ONE RECEIVABLES
                                         MANAG (E-CASE)


                                This information is provided as a service and is not considered an official court record.
                                                  Sort Date Entries:          Descending                  Display Options: All Entries       
                                                                           Ascending


01/30/2017           Agent Served
                     Document ID - 17-SMCC-296; Served To - ALLIANCE ONE RECEIVABLES MANAGEMENT, INC.;
                     Server - ; Served Date - 23-JAN-17; Served Time - 15:20:00; Service Type - Special Process Server;
                     Reason Description - Served

01/26/2017           Notice of Service
                     Summons and Affidavit of Service.
                       Filed By: BRYAN ETHAN BRODY
                       On Behalf Of: PATRICIA KOWALSKI

01/12/2017           Summons Issued-Circuit
                     Document ID: 17-SMCC-296, for ALLIANCE ONE RECEIVABLES MANAGEMENT, INC.. Summons
                     Attached in PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.

01/11/2017           Filing Info Sheet eFiling
                         Filed By: BRYAN ETHAN BRODY
                     Motion Special Process Server
                     Special Process Server Request. APPROVED ON 1/12/17
                       Filed By: BRYAN ETHAN BRODY
                       On Behalf Of: PATRICIA KOWALSKI
                     Pet Filed in Circuit Ct
                     Petition.
                     Judge Assigned
                     DIV 9
Case.net Version 5.13.15.1                                        Return to Top of Page                                     Released 01/19/2017




                                                                                                                                  EXHIBIT A
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                            2/16/2017
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               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

Judge or Division:                                                 Case Number: 17SL-CC00153                                             •
DAVID L VINCENT III
Plaintiff/Petitioner:                                              Plaintiff s/Petitioner's Attorney/Address
PATRICIA KOWALSKI                                                  BRYAN ETHAN BRODY
                                                                   1 NORTH TAYLOR AVENUE                                            .
                                                             vs.   SAINT LOUIS, MO 63108
, Defendant/Respondent:                                            Court Address:
  ALLIANCE ONE RECEIVABLES                                         ST LOUIS COUNTY COURT BUILDING                                             - -      -       -
  MANAGEMENT, INC.                                                 105 SOUTH CENTRAL AVENUE
                                                                   CLAYTON, MO 63105
Nature of Suit:
CC Contract-Other                                                                                                                            (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: ALLIANCE ONE RECEIVABLES MANAGEMENT, INC.
                                Alias:
 CIO CT CORPORATION SYSTEM
 120 S. CENTRAL AVE.
 CLAYTON, MO 63105

          COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                        which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                        above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                        file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                              SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                       notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                       three business days in advance of the court proceeding.
         ST. LOUIS COUNTY

                                          12-JAN-2017
                                           Date
                                         Further Information:
                                         AD
                                                           Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
     0 delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
     0 leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                  a person of the Defendant's/Respondent's family over the age of 15 years.
     0 (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                    (name)                                                                 (title).

     0 other
    Served at                                                                                                                                        (address)
    in                                             (County/City of St. Louis), MO, on                                  (date) at                             (time).


                       Printed Name of Sheriff or Server                                                       Signature of Sheriff or Server
                                      Must be sworn before a notary public if not served by an authorized officer:
                                      Subscribed and sworn to before me on                                                     (date).
              (Seal)
                                      My commission expires:
                                                                             Date                                              Notary Public
     Sheriff's Fees, if applicable
     Summons
     Non Est
     Sheriff's Deputy Salary
     Supplemental Surcharge.       $   10.00
     Mileage                                                    miles @ S.       per mile)
     Total
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 17-SMCC-296 1                  (Civil Procedure Form No. 1, Rules 54.01 -54.05,
                                                                                                              54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
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                     IN THE CIRCUIT COURT OF SAINT LOUIS COUNTY                                       ar
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                                  STATE OF MISSOURI                                                   cn
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PATRICIA KOWALSKI,                            )                                                       c
                                              )                                                       o
                                                                                                      c,
                                                                                                      c
        Plaintiff,                            )                                                       =
                                                             Cause No.                                Z
                                              )
V.                                            )                                                       cu
                                                             Division No.                             =
                                                                                                      c
                                              )                                                       a)
ALLIANCE ONE RECEIVABLES                      )                                                       Q
                                                                                                      •.
                                                                                                      ....
MANAGEMENT, INC.,                             )
     Serve:                                   )                                                       t•3
                                                                                                      CD
     CT Corporation System                    )
                                                                                                       .
     120 S Central Ave                        )              JURY TRIAL DEMANDED                      0,
                                                                                                      c.)
     Clayton, MO 63105                        )
                                                                                                      00
                                              )                                                       -ri
        Defendant.                            )                                                       m

                                            PETITION

        COMES NOW Patricia Kowalski, by and through the undersigned, and asserts this cause

of action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ("FDCPA"),

against Alliance One Receivables Management, Inc., and in support thereof states to the Court

the following:

                           PARTIES, JURISDICTION, AND VENUE

         1.      Plaintiff is a natural person, a citizen of Missouri, and resident of St. Louis

County.

        2.       Defendant is a Delaware corporation, registered to do business and in good

standing with the State of Missouri.

        3.       This Court has jurisdiction over the subject matter of this civil suit for damages

pursuant to the Missouri Constitution. Mo. CONST. Art. V § 14.

        4.       This Court has statutory authority to hear this case pursuant to 15 U.S.C. §

1692k(d).
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       5.      This Court may exercise personal jurisdiction over this Defendant for the reason
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that it regularly conducts business within Missouri, and the specific conduct complained of

herein occurred within Missouri.                                                                        0
                                                                                                        z
       6.      Venue is proper in St. Louis County, where Defendant maintains a registered

agent, pursuant to § 508.010.2 R.S.Mo.

       7.      Plaintiff and Defendant never agreed to arbitrate any dispute between them.

                                              FACTS                                                      .41

       8.      Defendant's principal business is the collection of consumer debts on behalf of
                                                                                                        co
others, and regularly utilizes the mails and other instrumentalities of interstate commerce in the

pursuit of that business.

       9.      Defendant's collection activity consisted of, at a minimum, an initial collection

letter and a live telephone conversation with Plaintiff.

        10.    In the course of Defendant's debt collection business, it sent to Plaintiff an initial

collection letter, which it had dated January 12, 2016, demanding payment for an alleged debt

Plaintiff owed to CitiBank, N.A. for a Goodyear account (the "Alleged Debt").

        11.    Plaintiff received this letter within approximately five days of its printed date of

January 12, 2016.

        12.    On January 21, 2016, Plaintiff contacted Defendant by telephone at the number

Defendant listed on its letter, and spoke with an employee and/or agent of Defendant who

identified herself as Pamela Olsen.

        13.    At the time of this phone call, Plaintiff's thirty-day period in which to exercise her

rights at protected by 15 U.S.C. § 1692g was in full force and effect.
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          14.   During this conversation, Plaintiff asked when the first payment would be due, to      a

which Defendant's employee/agent replied: "We would need something this month—we would                 0
                                                                                                       a.
need a payment by the 28th of this month," meaning January.                                            0
          15.   In light of the fact that Plaintiff could not afford to make a payment by that         •••Z

discrete deadline, Defendant's employee/agent attempted to create a payment plan, but insisted

that "we want to get something [paid] on this arrangement, you know, in January."

          16.   Plaintiff reiterated that she could not afford to pay any amount in January.
                                                                                                       (.)
          17.   Nevertheless, in an effort to secure an immediate payment on the account,
                                                                                                       co
                                                                                                       -13
Defendant's employee/agent continued to pressure Plaintiff to pay something "this month".

          18.   Even assuming that Plaintiff received the letter on the very same date Defendant

had printed on it, Plaintiff's thirty-day period to assert her dispute and verification rights would

have continued until February 12, 2016, at the very earliest.

          19.   Therefore, the discrete deadline of January 28 imposed upon Plaintiff by the

Defendant was well within her dispute and verification period.

          20.   As an unsophisticated consumer, Plaintiff did not understand that she would have

maintained her dispute rights if she made a payment on the debt with a deadline for payment

before the expiration of her dispute period.

          21.   In fact, Plaintiff intended to dispute the Alleged Debt, or a portion thereof, but

feared that doing so would cause her to jeopardize other rights, and expose her to possible legal

action.

          22.   Defendant's above-described conduct caused Plaintiff to believe that she could

not exercise her dispute rights or that such an exercise would not be honored.
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       23.      Defendant's representation that Plaintiff needed to make a payment on the debt no
                                                                                                     cn
later than January 28, 2016, and by the January 2016, thus overshadowed Plaintiff's dispute,         r—
                                                                                                     a.
validation, and verification rights as provided in 15 U.S.C. § 1692g.

        24.     Defendant's representations caused Plaintiff to suffer statutory damages under 15
                                                                                                     c_
                                                                                                     to
U.S.C. § 1692k in the amount of $1,000.00.                                                           o)

COUNT I: VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

        25.     Plaintiff realleges each and every preceding paragraph, and incorporates them by

this reference as if fully set forth herein.                                                         OD
                                                                                                     -13
        26.     Plaintiff is a "consumer" as that term is defined in the FDCPA.

        27.     Defendant is a "debt collector" as that term is defined in the FDCPA.

        28.     The Alleged Debt arises out of consumer, family, and/or household transactions.

        29.     Defendant attempted to collect the Alleged Debt from Plaintiff.

        30.     In its attempt to collect the Alleged Debt from Plaintiff, Defendant violated the

FDCPA, specifically by: overshadowing Plaintiff's dispute, validation, and verification rights,

and otherwise taking actions inconsistent therewith, in violation of 15 U.S.C. § 1692g(b).

        31.     Plaintiff suffered a concrete injury as a result of Defendant's conduct due to its

disregard for and violation of her rights created and guaranteed by federal law, including but not

limited to confusing Plaintiff with regard to her rights, and causing Plaintiff to expend precious

time and mental energy, and to suffer anxiety, frustration, and worry

        32.     Defendant's debt collection activities have caused Plaintiff to suffer actual

damages as recited herein.

        WHEREFORE, Plaintiff prays this honorable Court enter judgment in her favor and

against Defendant Alliance One Receivables Management, Inc., finding that it violated the



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FDCPA, awarding her actual and statutory damages together with her costs, attorneys' fees, and

interest as provided by law, and for such other and further relief as this Court deems just and

proper in the premises.



                                                    Respectfully submitted,


                                                /s/ Bryan E. Brody
                                                    Bryan E. Brody, Mo. Bar No. 57580
                                                    Alexander J. Cornwell, Mo. Bar No. 64793
                                                    BRODY & CORN WELL
                                                    1 N Taylor Ave
                                                    Saint Louis, MO 63108
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                                                    Attorneys for Plaintiff




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